                 Case 6:18-bk-01091-CCJ             Doc 45      Filed 04/24/18       Page 1 of 2
[Dordst] [ORDER SCHEDULING TRIAL]




                                         ORDERED.
Dated: April 24, 2018




                                  UNITED STATES BANKRUPTCY COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                          ORLANDO DIVISION
                                          www.flmb.uscourts.gov



In re:                                                                    Case No. 6:18−bk−01091−CCJ
                                                                          Chapter 11
Philadelphia Haitian Baptist Church of Orlando, Inc.
aka Eglise Baptiste Haitienne Philadelphie



________Debtor*________/

                                         ORDER SCHEDULING TRIAL

              The trial in the contested matter arising from the Application to Set Officers' Salary and to
         pay pre−Petition Insider Wages, Motion to Dismiss Case, Motion for Relief from StayMotion
         to Use Cash Collateral Nunc Pro Tunc to February 28, 2018, (Document No. 11, 26, 27, 36)
         filed by Debtor, TMI Trust and OSK, TMI and OSK, Debtor, will be held on August 20, 2018
         , at 10:30 AM in Courtroom 6D, 6th Floor, George C. Young Courthouse, 400 West
         Washington Street, Orlando, FL 32801 , with an estimated duration of 1 −Day Trial, before
         the Honorable Cynthia C. Jackson, , United States Bankruptcy Judge. Accordingly, it is

            ORDERED:

         1. Witness List. The parties shall exchange names and addresses of witnesses within 14 days
         of the date of entry of this Order.

         2. Exhibits. Parties shall comply with all requirements of Local Rules 7001−1 and 9070−1
         concerning Exhibits. Parties shall exchange exhibits no later than seven days before the date
         set for trial.

            (a) Objections to Authenticity. Unless written objection to authenticity is filed with the
         Court and served by email no later than the close of business on the second business day
         before trial, copies of exhibits will be admitted in lieu of the originals.

            (b) Self−Authentication. If a party intends to rely upon the self−authentication procedures
         of Fed. R. Evid. 902(11) or (12) with respect to the introduction into evidence of records of
         regularly conducted activities pursuant to Fed. R. Evid. 803(6), the party shall file with the
         Court and serve on other parties the written declaration required by Fed. R. Evid. 902(11) or
         (12) and a copy of all records sought to be admitted at least 28 days before trial.

         3. Discovery Cutoff. Parties shall complete discovery no later than seven days before the trial
         date except that parties may complete previously scheduled depositions up to the trial date.
                Case 6:18-bk-01091-CCJ              Doc 45      Filed 04/24/18        Page 2 of 2
        4. Discovery Disputes. The parties shall first confer in good faith to resolve any discovery
        disputes. If unsuccessful, any party may request a telephone conference with the Court so that
        the Court may render an informal, preliminary ruling on the discovery dispute, without
        prejudice to the right of any party to file a formal motion.

        5. Meet and Confer Requirement. Counsel for all parties shall confer within seven days
        prior to the trial and seek in good faith to settle the case.

        6. Additional deadlines. None



Avoid delays. You are reminded that Local Rule 5073−1 restricts the entry of cellular telephones and, except
in Orlando, computers into the Courthouse absent a specific order of authorization issued beforehand by the
presiding judge, a valid Florida Bar identification card, or pro hac vice order. Please take notice that as an
additional security measure a photo ID is required for entry into the Courthouse.

The Clerk's office is directed to serve a copy of this order on interested parties.

*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
